            Case 1:05-cv-00217-CCB Document 38 Filed 11/14/05 Page 1 of 6



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                                       :
COWAN SYSTEMS, INC.                                    :
                                                       :
       v.                                              :              Civil No. CCB-05-217
                                                       :
HARLEYSVILLE MUTUAL INSURANCE                          :
CO.                                                    :


                                        MEMORANDUM

       Now pending before the court is Harleysville’s motion to reconsider this court’s

memorandum and order of September 30, 2005. See Cowan Systems, Inc. v. Harleysville Mut.

Ins. Co., 2005 WL 2453002 (D.Md. 2005). The issues have been fully briefed and no hearing is

necessary. Local Rule 105.6. I will presume familiarity with my previous ruling in that matter,

as it discusses all the relevant facts and issues. Id. For the reasons that follow, the defendant’s

motion will be denied.

                                            ANALYSIS

       Harleysville raises two issues in its motion to reconsider. First, it argues that this court’s

award of attorneys fees and costs incurred in the underlying Shaffer litigation and this

declaratory judgment action was premature. Second, Harleysville argues that this court erred in

its analysis of the employer’s liability and worker’s compensation exclusions. Although this is,

at least with respect to the reconsideration of this court’s rulings on the exclusions, an improper

basis for a motion to reconsider,1 the court will briefly address–and reject--Harleysville’s newly


       1
         A motion to reconsider is not a license to reargue on the merits, present additional
evidence, or otherwise allow the losing party another bite at the apple. See RGI Inc. v. Unified
Indus., Inc., 963 F.2d 658, 662 (4th Cir. 1992); see also Potter v. Potter, 199 F.R.D. 550, 552-
553 (D.Md. 2001); and Gray-Hopkins v. Prince George’s County, 201 F.Supp.2d 523, 524
           Case 1:05-cv-00217-CCB Document 38 Filed 11/14/05 Page 2 of 6



framed arguments.

A. Award of Attorneys Fees and Costs

       Harleysville’s request for reconsideration of this court’s awarding of fees and costs to

Cowan simply demonstrates a misunderstanding of the ruling on that point. The court did not

award Cowan a specific amount, but rather merely held that Cowan would be entitled to fees and

costs from both this suit and the underlying Shaffer suit, to the extent any such fees and costs are

reasonable and can be adequately proven. This holding was explained in footnote 8 of the

opinion to make clear that Cowan would be entitled to fees and costs incurred in both cases, not

just the underlying litigation.2 It was of course intended that Cowan would subsequently submit

a properly-supported motion for attorneys’ fees and costs and Harleysville, if it took issue with

the motion, would respond in opposition. It appears the parties understood this, as both have

since been filed. (See Docket Nos. 33 and 35.) The court will address that motion for attorneys

fees and costs in due time. The motion to reconsider the general award of fees and costs in the

September 30, 2005 opinion will be denied.

B. The employer’s liability and worker’s compensation exclusions

       Harleysville’s new arguments, while styled as addressing the employer’s liability and



(D.Md. 2002). Reconsideration can indeed provide a valuable function where there has been an
intervening change in the controlling law, the court has made a clear error, or there is newly
discovered material evidence. See e.g. Pinney v. Nokia, Inc., 402 F.3d 430, 452 (4th Cir.
2005)(citing Potter’s articulation of the standards,199 F.R.D. at 552-553). The problems for
which such a motion is an appropriate remedy are rare, however, and thus the motion itself
should be equally rare. Potter, 199 F.R.D. at 552. Harleysville has provided no legitimate
explanation as to why these additional arguments were not presented earlier. See e.g. RGI, 963
F.2d at 662.
       2
          See Cowan Systems, Inc., 2005 WL 2453002, *11 n.8 (citing Riviera Beach Volunteer
Fire Co., Inc. v. Fid. and Cas.Co. of New York, 388 F.Supp. 1114, 1120 (D. Md. 1975); and
Bankers and Shippers Ins. Co. of New York v. Electro Enterprises, Inc., 287 Md. 641, 660 (Md.
1980).
           Case 1:05-cv-00217-CCB Document 38 Filed 11/14/05 Page 3 of 6



worker’s compensation exclusions3, are focused on the issue of whether Cowan faced potential

liability under the Truckload Transportation Agreement (“the Agreement”), and relatedly,

whether the court erred in deeming that Agreement to be an “insured contract,” a designation

that would render inapplicable, by the policy’s own terms, the employer’s liability exclusion. In

making its various arguments, Harleysville seems to lose sight of the standard for assessing

whether an insurer’s duty to defend is triggered.4 Even to the extent Harleysville raises colorable

arguments that it would not have had to provide coverage to Cowan, those arguments apply more

persuasively to its ultimate duty to indemnify, not its duty to defend.5 As further explained

below, none of the arguments for non-coverage raised by Harleysville, even if later found by a

court to be persuasive, would eliminate its duty to defend Cowan.

       First, Harleysville argues that the Agreement between Cowan and Linens N Things does

not meet the definition of an “insured contract” under its policy, and that the potential liability


       3
        As fully explained in the September 30, 2005 opinion, the worker’s compensation
exclusion is simply not implicated here. See Cowan Systems, Inc., 2005 WL 2453002, *8.
       4
          The duty to defend is broader than the duty to indemnify and exists even where there is
just a potentiality that the claim may be covered by the policy. See Walk v. Hartford Cas. Ins.
Co., 382 Md. 1, 15-16 (Md. 2004)(quoting Brohawn v. Transamerica Ins. Co., 276 Md. 396,
407-08 (Md. 1975). “Even if a tort plaintiff does not allege facts which clearly bring the claim
within or without the policy coverage, the insurer must still defend if there is a potentiality that
the claim could be covered by the policy”. Brohawn, 276 Md. at 407-408. Maryland courts
have found the duty to exist even where the claim asserted against the insured cannot possibly
succeed. BGE Home Prods. & Servs., Inc. v. Owens, 377 Md. 236, 246 (Md. 2003)(quoting Litz
v. State Farm, 346 Md. 217, 225 (Md. 1997)).
       5
         Harleysville appears to confuse the court’s finding that a duty to defend existed with a
finding of ultimate liability on the part of Cowan in the third party complaint. Harleysville states
“the court erred when it found liability based on a contract which is void...” (See Def’s Mot. to
Reconsider at 4.) This court never ruled on the question of any party’s ultimate liability in the
Shaffer litigation or on Harleysville’s duty to indemnify anyone. As the standard for finding a
duty to defend differs significantly from the standard for finding ultimate liability, such
confusion on the part of Harleysville may explain its own error in submitting this motion to
reconsider.
           Case 1:05-cv-00217-CCB Document 38 Filed 11/14/05 Page 4 of 6



Cowan faced would not trigger the “insured contract” exception in any event. Harleysville is

wrong on both counts. Harleysville argues that the definition of “insured contract” in its policy

speaks of “tort liability” and that Cowan could not have any tort liability as to its own employee

due to the workers compensation regime. It may be true that Cowan could not face tort liability

directly to its own employee. The policy’s definition of “insured contract,” however, actually

speaks of contracted responsibility for the tort liability of another party, which was exactly the

arrangement between Cowan and Linens N Things, the “another party” being Linens N Things.

(See Plf.’s Mem. in Opp’n. to Summ. J. at Ex. 1, the policy; and Ex. 7, truckload transportation

agreement.) The Agreement fits the definition of an “insured contract” under the policy.

       Harleysville also argues that its definition of “insured contract” references responsibility

for potential liability of another to a “third person or organization,” not liability of another to an

employee of the insured.6 It is true that Shaffer was an employee of Cowan, the insured, but he

was bringing his suit against Linens N Things as a “third person,” not as an employee of Linens

N Things. Thus, the damages which Shaffer was seeking from Linens N Things, and for which

Linens N Things was in turn seeking indemnification from Cowan pursuant to the Agreement,

could be construed as tort liability “of another” (Linens N Things) to a “third person” (Shaffer).

Therefore, both the Agreement itself and the potential liability presented by Shaffer’s claim at

least arguably fall under the definition of an “insured contract.”7


       6
         Under the policy, “insured contract” is defined as: “That part of any other contract or
agreement pertaining to your business (including an indemnification of a municipality in
conjunction with work performed for a municipality) under which you assume the tort liability of
another party to pay for “bodily injury” or “property damage” to a third person or organization.
Tort liability means a liability that would be imposed by law in the absence of any contract or
agreement.” (Plf.’s Mem. in Opp’n. To Summ. J. at Ex. 1, the policy.)
       7
         Harleysville also cites numerous cases for the proposition that, “when an employee
recovers damages from a third-party for a work-related injury, the third-party may seek
           Case 1:05-cv-00217-CCB Document 38 Filed 11/14/05 Page 5 of 6



       Second, Harleysville argues, for the first time, that “insured contracts” are void as

contrary to public policy in New Jersey in any event. Therefore, Harleysville contends, no

liability could ever be found, and thus the court erred in looking to the “insured contract”

exception to find that the duty to defend attached. Harleysville again loses sight of the standard

for triggering its duty to defend. To the extent that the only basis for Cowan’s potential liability

was through the Agreement, and assuming that the Agreement was an “insured contract” which

is void as contrary to public policy, such an argument would have provided a ready defense to

Linens N Things’ third party complaint against Cowan – a defense that should have been

provided by Harleysville – but would not free Harleysville from its obligation to provide that

defense. By the terms of both the New Jersey statute cited by Harleysville and the Agreement

itself, it is debatable whether the Agreement would actually be void as contrary to public policy.8




indemnification from the employer...[and] in such instances, a question arises as to whether the
employee exclusion bars coverage.” Harleysville goes on to argue that, “generally speaking,
such indemnity claims are barred from coverage by the employee exclusion.” None of the
numerous cases cited by Harleysville have any bearing on this case. In each, courts from various
jurisdictions, dealing with very different facts, exclusions, and disputes, found the exclusions
applicable in those cases, at least with respect to indemnification. However, far from suggesting
the applicability of the employer’s exclusion here, one court even stressed the crucial difference
between the duty to indemnify and the duty to defend. See Western Fire Ins. Co. v. J. R. Snyder,
Inc., 256 N.W.2d 451, 454-55 (Mich.App. 1977). In the present case, this court ruled only that
the duty to defend was triggered because there was a potentiality of coverage. See Utica Mut.
Ins. Co. v. Miller, 130 Md.App. 373, 383 (Md. Ct. Spec. App. 2000)(“if any claims potentially
come within the policy coverage, the insurer is obligated to defend all claims.”).
       8
          N.J.S.A. 2A:40A-1 renders void contracts that “purport to indemnify or hold harmless
the promisee against liability for damages arising out of bodily injury to persons...caused by or
resulting from the sole negligence of the promisee...” The Agreement between Linens N Things
would hold Linens N Things, the promisee, harmless for damages caused in whole or part by
Cowan, the promisor. The Agreement, then, could be construed to hold Linens N Things
harmless for its own partial, but not sole, negligence, something not clearly falling under the
New Jersey Statute. In any event, as further explained below, Harleysville itself admits that the
issue is unclear.
           Case 1:05-cv-00217-CCB Document 38 Filed 11/14/05 Page 6 of 6



       Significantly, Harleysville, in its own motion to reconsider, recognizes that the

applicability of the “insured contract” exception, which necessarily implicates whether there was

coverage and a duty to defend, was unclear. Harleysville states that “a question arises” as to

coverage, that “generally speaking” exclusions apply, and speaks of the “at the least, unclear

status and/or applicability of the relevant ‘insured contract’ exception.” (See Def’s Mot. to

Reconsider at 7; and Def’s Reply to Pl’s Opp’n to Mot. to Reconsider at 4.) That recognition

alone could decide this motion to reconsider. By defendant’s own characterization of the

potentiality of coverage, the duty to defend attached.9 Harleysville had a duty to defend. For the

reasons stated above, the defendant’s motion will be denied.

       A separate order follows.




  November 14, 2005                                                  /s/
Date                                                  Catherine C. Blake
                                                      United States District Judge




       9
         It is well-settled that any doubt about the potentiality of coverage is resolved in favor of
the insured. See Hartford Cas. Ins. Co. v. Chase Title, Inc., 247 F.Supp.2d 779, 780 (D.Md.
2003)(citing Chantel Assocs. v. Mount Vernon Fire Ins. Co., 338 Md. 131, 145 (Md. 1995)); see
also Nationwide Ins. Cos., 127 Md.App. at 24; Utica Mut. Ins. Co., 130 Md.App. at 383.
